Case o-20-0Q60459-asI

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Jeffrey P. Nolan August 5, 9024

The Honorable Alan S. Trust

United States Bankruptcy Court

Eastern District of New York

Alfonse M. D’Amato Federal Courthouse
290 Federal Plaza

Central Islip, New York 11722

Re: _Inre Orion HealthCorp., Inc., et al.
Howard M. Ehrenberg v. Arvind Walia; Niknim
Management, Inc.
Adv. Proc. No. 20-08049 (AST)

Dear Judge Trust:

We are counsel for Howard M. Ehrenberg in his capacity as
Liquidating Trustee of Orion Healthcorp, Inc., ef al. (the
“Liquidating Trustee”) in the above referenced adversary
proceeding. I write to address the issue raised by the Court to the
parties at the end of Trial: what evidence was introduced as to the
discrepancy in price and distribution of funds surrounding the
Porteck APA.

As the Court may recall, the Asset Purchase Agreement
(“APA”) was dated March 2015. [PI Trial Ex 3] On summary
judgment, Plaintiff established through the forensic analysis testified
to in the Affidavit of Frank Lazzara, that on March 2, 2015, $9.8 M
was deposited from the Debtors’ bank account at M&T Bank into
the Debtors’ IOLA Account which sum was disbursed the following
day on March 3, 2015, at the closing. [Dkt No. 57; Aff'd of Frank
Lazzara in Support of Plaintiff's SJM, §8] This fact was
memorialized in the parties Joint Pretrial Memorandum as an
established fact. [Joint Pretrial Memorandum Dkt. No. 137, §19,
20] $6,800,000 was disbursed to the Sellers and the remaining
balance of the sale proceeds, $3,000,000 was disbursed to First

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United Health, LLC, a Paul Parmar controlled entity. [Joint Pretrial
Memorandum, Dkt. No. 137, §20]

As the Court noted at trial, the Disbursement Authorization
and Itemization Form dated March 3, 2015, Pl Trial Ex. 4,
evidences $7M distributed to the Sellers, or on their behalf, at the
closing. Coupled with the First Transfer of $2.5 M made one year
later, a total of $9,500,000 was distributed to the Defendants. Mr.
Walia’s testimony at trial was that the purchase price was $10.8M,
which left an unexplained discrepancy of $1.3M.

Defendant Walia directs the Court to PI Trial Ex. 5 to
explain the discrepancy. Pl Trial Ex 5, is an email prepared by the
Defendant one year removed from the closing. The math in the
email is not accurate. The $600,000 for a “PCA Loan” was already
accounted for in the $7MM disbursed to Seller as part of the
Disbursement Authorization and Itemization Form dated March 3,
2015, PI Trial Ex. 4. (see entry “People’s United Bank,
$597,648.59”). The APA closing documents do not reflect any sum
paid to Abstract Business Advisors at closing, let alone $200,000,
and Walia testified at trial this was handled by Parmar.

The testimony of a purchase price of $10.8M is not
corroborated by the trial record.

Respectfully submitted,
/s/ Jeffrey P. Nolan
Jeffrey P. Nolan

cc: Sanford Rosen, Esq.
Counsel for Defendants (Via ECF)

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